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1    McGREGOR W. SCOTT
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     JASON HITT
3    Assistant U.S. Attorneys
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4    Sacramento, CA 95814
     Telephone (916) 554-2790
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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) Case No. CR-S-99-433-WBS
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND [PROPOSED] ORDER
13                                   ) RESETTING BRIEFING SCHEDULE ON
     JOHN THAT LUONG, et al.,        ) DEFENDANT JOHN LUONG’S MOTION TO
14                                   ) RECONSIDER
                    Defendants.      )
15
     _______________________________ )
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason Hitt, Assistant United
20   States Attorneys; defendant John That Luong, through his counsel,
21   Richard Mazer, Esq., stipulate and agree to the following revised
22   motion schedule on defendant John Luong’s pending motion to
23   reconsider and exclusion of time under the Speedy Trial Act:
24        1.   Government’s response to defendant Luong’s motion to
               reconsider to be filed on January 10, 2007;
25
          2.   Defendants’ reply, if any, to be filed by January 24,
26             2007; and
27        3.   Hearing on the motion: February 5, 2007, at 9:30 a.m.
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1         Counsel for the government needs additional time to research
2    and prepare its response to the defendants’ motion and defendant is
3    agreeable.   Accordingly, the parties stipulate that time be excluded
4    for the pendency of these motions pursuant to 18 U.S.C.
5    § 3161(h)(1)(F) - delay resulting from any pretrial motion and 18
6    U.S.C. § 3161(h)(8)(B)(ii) - additional time to adequately prepare
7    for pretrial proceedings.
8
9                                             Respectfully submitted,
10                                            McGREGOR W. SCOTT
                                              United States Attorney
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12
     DATED: December 6, 2006            By:/s/ Jason Hitt
13                                         JASON HITT
                                           Assistant U.S. Attorney
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15
     DATED: December 6, 2006            By: /s/ Richard Mazer
16                                          RICHARD MAZER for defendant
                                            John That Luong
17                                          Telephonically authorized to
                                            sign for Mr. Mazer on 12/05/06
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1                                      ORDER
2         For the reasons set forth above, the revised law and motion
3    schedule is adopted.   Furthermore, time is excluded for the reasons
4    set forth above.
5    DATED:   December 6, 2006
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